60 F.3d 816
    Planned Parenthood of Southeastern Pennsylvania ReproductiveHealth and Counseling Center Women's Health Services, Inc.,Women's Suburban Clinic Allentown Women's Center NortheastWomen's Center Allen, Thomas, M.D.v.Casey, Robert P. Richards, N. Mark Preate, Ernest, Marino, Michael D.
    NO. 90-1662
    United States Court of Appeals,Third Circuit.
    May 23, 1995
    
      Appeal From:  E.D.Pa., No. 88-3228,
      Huyett, J.,
    
    869 F.Supp. 1190
    
      1
      ADOPTING IN PART.
    
    